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Information to identify the case:
Debtor
                Robert Jordan Construction, LLC                                                 EIN:   27−3905975
                Name

United States Bankruptcy Court       Northern District of Texas                                  Date case filed for chapter:         7       8/9/22

Case number:        22−41804−elm7
Official Form 309C (For Corporations or Partnerships)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                                                             10/20

For the debtor listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has been
entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read all pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtor or the debtor's property. For example, while the stay is in effect, creditors cannot
sue, assert a deficiency, repossess property, or otherwise try to collect from the debtor. Creditors cannot demand repayment
from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and punitive damages
and attorney's fees.
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at https://pacer.uscourts.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

Do not file this notice with any proof of claim or other filing in the case.
1. Debtor's full name                        Robert Jordan Construction, LLC

2. All other names used in the
   last 8 years
3. Address                                   2640 Corzine Drive
                                             Arlington, TX 76013

4. Debtor's attorney                         Jason Patrick Kathman                                                Contact Phone: (972) 324−0300
                                             Spencer Fane LLP
    Name and address                         5700 Granite Parkway, Suite 650                                      Email: jkathman@spencerfane.com
                                             Plano, TX 75024

5. Bankruptcy trustee                        John Dee Spicer                                                      Contact Phone: (214) 573−7331
                                             Suite 560, Founders Square
    Name and address                         900 Jackson Street                                                   Email: trusteedocs@chfirm.com
                                             Dallas, TX 75202−4425

6. Bankruptcy clerk's office                 501 W. Tenth Street                                                  Hours open:
                                             Fort Worth, TX 76102                                                 Mon.−Fri. 8:30−4:30
    Documents in this case may be
    filed at this address. You may
    inspect all records filed in this case                                                                        Contact Phone: 817−333−6000
    at this office or online at
    https://pacer.uscourts.gov.                                                                                   Date: 8/9/22

7. Meeting of creditors                      September 13, 2022 at 11:10 AM                                       Trustee: John Dee Spicer
    The debtor's representative must                                                                              Toll free number: 866−795−7947
    attend the meeting to be                 BY TELEPHONE                                                         Alternate number: 517−600−6166
    questioned under oath. Creditors
    may attend, but are not required to                                                                           Participant Code: 4681721
    do so.                                   The meeting may be continued or adjourned to a later date. If
                                             so, the date will be on the court docket.
    Debtor attorneys will be responsible for verifying both the debtors' photo ID and the debtors' social security number on the record. If you
    are a pro se debtor who appears by telephone, the trustee may require that you appear at a continued meeting in order to present your
    proof of identification and social security number and to affirm that you were the one who testified at the telephonic meeting.

8. Proof of claim                            No property appears to be available to pay creditors. Therefore, please do not file a proof of claim now.
    Please do not file a proof of            If it later appears that assets are available to pay creditors, the clerk will send you another notice telling you
    claim unless you receive a notice        that you may file a proof of claim and stating the deadline.
    to do so.

9. Creditors with a foreign                  If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court to
   address                                   extend the deadlines in this notice. Consult an attorney familiar with United States bankruptcy law if you have
                                             any questions about your rights in this case.
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        INFORMATION FOR THE TELEPHONIC § 341 MEETING OF CREDITORS


Because of developing issues with the COVID−19 virus and the national declaration of emergency by the President
of the United States, § 341 Meetings of Creditors (?Meetings?) will be conducted telephonically. The telephone call
in numbers and participant code are found on the enclosed Notice.



Additional Dial−In Information:

(1) You must use a touch−tone phone to participate.

(2) Landline preferred. If you have a choice, use a landline phone, instead of a cell phone. Do not use a speaker
phone.

(3) Dial the call−in number and then enter the participant code, which consists of 7 numbers and is followed by a #
sign. Immediately place your phone on mute.

(4) Make the call from a quiet area where there is as little background noise as possible.

(5) As more than one Meeting will be held during this period, listen for your case to be called. When your case is
called, unmute your phone and identify yourself.

(6) When speaking during your case, identify yourself.

(7) Do not put the phone on hold at any time after the call is connected.

(8) If any party is attending the Meeting from the same location as another party, use separate touch−tone phones to
participate.

(9) Once the case Meeting is finished, hang up.

(10) If you become disconnected before your Meeting is finished, call back.



Bankruptcy Documents:

Debtors should have their bankruptcy documents available in the event there are questions about the information in
the documents.

Recording: The Meetings will be recorded by the trustee or United States Trustee.
